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                   IN THE UNITED STATE DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                            ALBANY DIVISION

MATHEW WHITEST, et al.,                 *
                                        *
     Plaintiffs,                        *
                                        *
v.                                      * CIVIL ACTION NO.:
                                        * 1:17-CV-00109-LAG
                                        *
CRISP COUNTY GEORGIA BOARD              *
OF EDUCATION, et al.,                   *
                                        *
     Defendants.                        *

                            NOTICE OF APPEAL

     Notice is hereby given that Crandall O. Postell, plaintiff in the above-

named case, hereby appeals to the United States Court of Appeals for the

Eleventh Circuit from the final judgment issued by the Court in this action on

the 28th day of April, 2022 (see ECF No. 160).

     This 26th day of May, 2022.



                                                 /s/Crandall O. Postell
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                          CERTIFICATE OF SERVICE

     I hereby certify that on the 26th day of May, 2022, I have served the

foregoing with the Clerk of Court using the CM/ECF system, which will

automatically send e-mail notification of such filing and by U.S. Mail to the

following parties and attorney of record:

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